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                                                                                    -I! DIV.



                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF GEORGI A
                             WAYCROSS DIVISIO N



UNITED STATES OF AMERICA


      V.                                              CASE NO. : CR506-5


CHARLES JAMES COOPER
NATHAN GLOVE R
KIEEMA DAVIS
LASHONA COOPER
WILEY J . STRICKLAND
ANTHONY WILLIAMS
CHARICE BOYD


                                      ORDER

      Defendant Wiley J . Strickland ("Strickland") filed a Motion to Suppress . After

conducting an evidentiary hearing on the Motion, Magistrate Judge James E . Graham

issued a Report wherein he recommended that Strickland's Motion be denied . Strickland

filed Objections to the Magistrate Judge's Report and Recommendation .

      In his Objections, Strickland states that he objects to the Magistrate Judge's

conclusions that Special Agent Stephen Tinsley's actions on the night in question were

legally permissible and that crack cocaine found in the patrol car in which Strickland

traveled to the jail should not be subject to suppression . However, Strickland does not

object to the Magistrate Judge's Report and Recommendation with any specificity .
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       Strickland's Objections are without merit . The Magistrate Judge's Report and

Recommendation is adopted as the opinion of the Court . Special Agent Tinsley's actions

were supported by the "reasonable suspicion" standard articulated in Ted v . Ohio , 392

U .S . 1, 88 S . Ct. 1868, 20 L. Ed . 2d 889 (1968) . The crack cocaine found in the backseat

of the patrol car is admissible against Strickland during the trial of this case . Defendan t

Strickland's Motion to Suppress is DENIED .
                                  >r"
        SO ORDERED , this day of 2006.




                                          WILLIAM T . MOORE, JR ., CH&JUDGE
                                          UNITED STATES DISTRICT COURT
                                          SOUTHERN DISTRICT OF GEORGIA
